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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


 KEVIN MULLINS, individually and on
 behalf of all others similarly situated,         Case No. 1:19-cv-964-MRB

                        Plaintiff,
                                                  Judge Michael R. Barrett
                 v.

 THE KROGER COMPANY; and SMITH’S JOINT DISCOVERY PLAN
 FOOD & DRUG CENTERS, INC. d/b/a
 FRY’S FOOD AND DRUG,

                        Defendants.


         Now come all parties to this case, by and through their respective counsel, and hereby

jointly submit to the Court this Joint Discovery Plan, pursuant to the Court’s Trial Procedure Order.

The parties conducted their discovery conference on September 24, 2021.

A.       MAGISTRATE CONSENT

         The parties:

                unanimously consent to the jurisdiction of the United States Magistrate Judge
                pursuant to 28 U.S.C. § 636(c).

                do not unanimously consent to the jurisdiction of the United States Magistrate
                Judge pursuant to 28 U.S.C. § 636(c).

                unanimously give contingent consent to the jurisdiction of the United States
                Magistrate Judge pursuant to 28 U.S.C. § 636(c), for trial purposes only, in the
                event that the District Judge assigned is unavailable on the date set for trial (e.g.
                because of other trial setting, civil or criminal).

B.       RULE 26(a) DISCLOSURES

                The parties have exchanged pre-discovery disclosures as required by Rule 26(a)(1).

                The parties will exchange such disclosures by December 17, 2021.
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               The parties are exempt from disclosure under Rule 26(a)(1)(E).

C.       DISCOVERY ISSUES AND DATES

         1.    Discovery will need to be conducted on the issues of:

               This case asserts claims as a collective action pursuant to the Fair Labor Standards
               Act (“FLSA”), 29 U.S.C. § 216(b), on behalf of similarly situated current and
               former Assistant Store Managers (“ASMs”) employed by Defendants at their Fry’s
               Food & Drug store locations. This Court previously granted conditional
               certification of Plaintiff’s FLSA collective action and, in response to receiving
               notice of this lawsuit, 125 individuals opted in (in addition to six individuals who
               opted-in prior to notice being sent). With the Court’s approval, the parties agree to
               proceed with merits-based discovery (of both Plaintiff and Defendants), as well as
               a representative sampling of the 131 individuals who have joined (“Discovery Opt-
               Ins”). Discovery shall be directed towards the merits of the parties’ claims and
               defenses and final FLSA certification/decertification, including as to the following
               topics: the job duties, training, hours worked, and compensation of Defendants’
               ASMs, including Plaintiff and the Discovery Opt-Ins; the classification of
               Defendants’ ASMs, including Plaintiff and the Discovery Opt-Ins, for purposes of
               receiving overtime compensation (including the reasons for same); Defendants’
               store-level policies and procedures; damages; Defendants’ affirmative defenses,
               including that ASMs were properly classified as exempt from overtime, as well as
               Defendants’ good faith and lack of willfulness defenses.

               The parties agree to the following parameters regarding second-stage discovery:

               The parties agree that there shall be ten (10) Discovery Opt-Ins who shall be subject
               to written and deposition discovery. Defendants shall select five (5) Discovery
               Opt-Ins and five (5) Discovery Opt-Ins shall be randomly selected.

               With respect to any Discovery Opt-In who fails or refuses to participate in written
               discovery or deposition:

                      Defendant’s position: Such individual shall be dismissed from this action
                      and replaced by the same selection process as the Discovery Opt-In who
                      fails to participate (i.e., if one of Defendants’ selections fails to participate,
                      then Defendants would select the replacement Discovery Opt-In). If
                      Defendants move to dismiss a Discovery Opt-In for failure to participate in
                      discovery, Plaintiff shall not oppose dismissal on this basis.

                      Plaintiff’s position: For any Discovery Opt-Ins who fails or refuses to
                      participate in written discovery or deposition, Defendant is free to move the
                      Court for an order dismissing their claims and Plaintiff will respond to such
                      a motion in due course. That individual will be replaced in the
                      representative discovery process by another individual, and the same

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                 selection process shall apply (i.e., if one of Defendants’ selections fails to
                 participate, then Defendants would select the replacement Discovery Opt-
                 In). Plaintiff cannot, however, dismiss any Discovery Opt-In’s claim
                 without their consent (which may not be forthcoming if they are non-
                 responsive), nor can Plaintiff agree not to oppose any motion filed by
                 Defendant without first being made aware of its substance and the relief
                 sought (which may, or may not include, other sanctions, including dismissal
                 with prejudice and an award of attorneys’ fees). Plaintiff submits that, in
                 the case of any non-responding Discovery Opt-In, the Court should afford
                 them due process and issue an order requiring any such individual to
                 participate in discovery by a date certain or, otherwise, they may be
                 dismissed from the case.

          Defendants may serve ten (10) interrogatories, ten (10) requests for production of
          documents, and ten (10) requests for admission on each Discovery Opt-In.
          Defendants will not serve a cumulative total of more than twenty (20) unique
          interrogatories, thirty (30) unique requests for production of documents, and twenty
          (20) unique requests for admission on the Discovery Opt-Ins. Plaintiffs may serve
          twenty (20) interrogatories, thirty (30) requests for production of documents, and
          twenty (20) requests for admission on Defendants. The written discovery requests
          shall not include sub-parts or be compound. The responding party shall have forty-
          five (45) days from the date of service to respond to the written discovery. The
          Parties agree to the electronic service of all discovery requests and responses. The
          parties will also meet and confer regarding, among other things, the parties’ search
          for, and production of, electronically stored information (“ESI”).

          The parties agree that depositions of the Discovery Opt-Ins shall be limited to three
          (3) hours each, for a cumulative total of 30 hours. Plaintiff may take the deposition
          of up to six (6) individuals, the cumulative total of which will not exceed 30 hours.
          All depositions will take place remotely via Zoom or similar videoconference
          service, or an agreed-upon convenient location.

          Plaintiff has previously taken a 30(b)(6) deposition (which was directed at
          Plaintiff’s Motion for Conditional Certification and Court-Authorized Notice).
          Plaintiff has indicated that he intends to take a second Rule 30(b)(6) deposition on
          issues unrelated to those covered during the first stage Rule 30(b)(6) deposition.
          The parties disagree whether a second 30(b)(6) deposition is appropriate.
          Nonetheless, before Plaintiff serves notice of such a deposition, the parties agree to
          meet and confer regarding the need, length, and topics for such deposition. In so
          agreeing, neither party is waiving any arguments with respect to the propriety,
          content, or length of such deposition. In any event, the parties agree that such
          deposition is not included in the six-deposition limitation described above and shall
          not be used to evade the deposition limitations described in the above paragraph.

          The parties may proceed with expert discovery during this stage, as outlined below
          in ¶¶3-5.

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       2.      The parties recommend that discovery:

                       need not be bifurcated

                       should be bifurcated between liability and damages

                       should be bifurcated between factual and expert

                       should be limited in some fashion or focused upon particular issues which
                       relate to: see ¶C.1.

       3.      Disclosure and report of Plaintiff’s expert(s) by: The deadline for disclosure of
               Plaintiff’s expert, if any, shall be May 27, 2022. The deadline to produce an expert
               report shall be June 17, 2022.

       4.      Disclosure and report of Defendants’ expert(s) by: The deadline for disclosure of
               Defendants’ expert, if any, shall be May 27, 2022. The deadline to produce an
               expert report shall be June 17, 2022.

       5.      Disclosure and report of rebuttal expert(s) by: The deadline for disclosure of either
               parties’ rebuttal expert(s), if any, shall be July 29, 2022. The deadline to produce
               any expert rebuttal reports shall be August 12, 2022.

       6.      Disclosure of non-expert (fact) witnesses: Not applicable.

       7.      Discovery cut-off: Discovery directed towards the merits of the parties’ claims and
               defenses, final FLSA certification/decertification and, if applicable, experts shall
               be completed on/before August 26, 2022.

       8.      Anticipated discovery problems:

                                                                                    .

                       None.

       9.      Describe the subjects on which discovery is to be sought and the nature, extent and

scope of discovery that each party needs to: (1) make a settlement evaluation; (2) prepare for case

dispositive motions; and (3) prepare for trial: See ¶C.1.

       10.     Discovery of Electronically Stored Information.        The parties have discussed

disclosure, discovery, and preservation of electronically stored information, including the form or

forms in which it should be produced.

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                      Yes. The parties are meeting and conferring regarding entry of a proposed
                      Order as to electronically stored information (“ESI”). Plaintiff has sent
                      correspondence to Defendants requesting information regarding potential
                      sources of relevant ESI as well as electronic software and hardware systems.

                      No.

              i.      The parties have electronically stored information in the following formats:
                      Plaintiff may have e-mails and electronic versions of schedules and other
                      documents created by Defendants which were sent to Plaintiffs. Defendants
                      may have documents in Word, Excel, and PDF format, as well as emails.

              ii.     The case presents the following issues relating to disclosure, discovery, or
                      preservation of electronically stored information, including the form or
                      forms in which it should be produced:

                      The parties anticipate the production of ESI during discovery, including
                      with respect to e-mails and electronic documents maintained by either party.
                      The parties are continuing to meet and confer in good faith regarding the
                      obligation to search for, and produce, ESI, including the format(s) for
                      production.

       11.    Claims of Privilege or Protection. The parties have discussed issues regarding the

protection of information by a privilege or the work-product doctrine, including whether the

parties agree to a procedure to assert these claims after production or have any other agreements

under Fed. R. Civ. P. 502.

                      Yes. The parties are meeting and conferring regarding a stipulated
                      protective order which includes a provision under Fed. R. Civ. P. 502.

                      No.

              i.      The case presents the following issues relating to claims or privilege or of

                      protection as to trial preparation materials: None.

              ii.     Have the parties agreed on a procedure to assert such claims AFTER

                      production?

                             No.

                             Yes. The parties stipulated protective order includes a procedure to

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                               assert such claims.

                               Yes, and the parties ask that the Court include the following
                               agreement in the scheduling order:             .

D.       LIMITATIONS ON DISCOVERY

         1.     Changes in the limitations on discovery:

                       Extension of time limitations (currently one day of seven hours) in taking
                       of depositions to                    .

                       Extension of the number of depositions (currently 10) permitted to             .

                       Extension of number of interrogatories (currently 25) to               .

                       None (with the exception of the limitations contained in ¶C.1).

E.       PROTECTIVE ORDER

                A protective order will likely be submitted to the Court on or before December 17,
                2021.

                The parties currently do not anticipate the need for a protective order. If the parties
                subsequently deem that one is necessary, they will submit a joint proposed order to
                the Court. Such order will be in compliance with Procter & Gamble Co. v. Bankers
                Trust Co., 78 F.3d 219 (6th Cir. 1996).

F.       SETTLEMENT

         A settlement demand       X      has         has not been made.

         A response     X      has           has not been made.

         A demand can be made by: The parties have engaged in significant settlement discussions,
         including two mediation sessions with experienced wage and hour mediator Michael
         Russell, Esq. The parties have not reached a settlement.

         A response can be made by: Not applicable.

G.       MOTION DEADLINES

         1.     Motion to amend the pleadings and/or add parties by: The parties believe the
                deadline should be set at February 10, 2021.

         2.     Motions relative to the pleadings by: The parties agree to the following schedule

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                 for Plaintiff’s FLSA motion for final certification of the collective and Defendants’
                 motion for decertification of the collective:

                        Deadline for Motion for Final Certification/Decertification: September
                        30, 2022.

                        Deadline for Opposition: October 28, 2022.

                        Deadline for Reply: November 18, 2022.

                        Any hearing on the above motions shall be as scheduled by the Court.

         3.      Dispositive motions by: September 30, 2022. Oppositions and Replies shall be
                 filed in accordance with the timeline set in ¶G(2).

H.       OTHER MATTERS PERTINENT TO MANAGEMENT OF THIS LITIGATION

         None.

Dated: November 19, 2021

s/ Jason Conway                                        s/ David K. Montgomery (w/ permission)
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Attorneys for Plaintiff and the Members
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*Admitted Pro Hac Vice




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                               CERTIFICATE OF SERVICE

       I certify that, on November 19, 2021, I caused to be served a true and correct copy of the
aforementioned document to be sent electronically through the Court’s CM/ECF system to all
counsel of record in these matters.

                                                    s/ Jason Conway
                                                    Jason Conway




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